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   8    STATER BROS. MARKETS
   9
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  10

  11
                                    UNITED STATES DISTRICT COURT
  12
                                  CENTRAL DISTRICT OF CALIFORNIA
  13
        CITYWIDE CONSULTANTS & FOOD                   Case No. 2:19-cv-4724 (DSF)
  14    MANAGEMENT, LLC, individually and             (AFMx)
        on behalf of all others similarly situated,
  15                                                  JOINT STIPULATION
                                  Plaintiff,          TO INFORM COURT OF
  16                                                  SETTLEMENT
                vs.                                   AGREEMENT, AND TO
  17                                                  VACATE HEARING
        GRUMA CORPORATION, a Nevada                   DATES FOR
  18    corporation, dba MISSION FOODS                PLAINTIFF’S MOTION
        CORPORATION; SMART & FINAL                    TO REMAND AND
  19    STORES, INC.; STATER BROS.                    DEFENDANTS’
        MARKETS; and DOES 1 through 100,              MOTION TO COMPEL
  20    inclusive,                                    ARBITRATION
  21                         Defendants.              Judge: Hon. Dale S. Fischer
  22                                                  Complaint Filed: March 26, 2019
                                                      Trial Date: None set
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   1           Plaintiff Citywide Consultants & Food Management, LLC (“Plaintiff”) and
   2   Defendants Gruma Corporation, Smart & Final Stores, Inc., and Stater Bros.
   3   Markets (collectively, “Defendants”), acting through their respective counsel of
   4   record, hereby stipulate as follows:
   5

   6           WHEREAS, on March 26, 2019, Plaintiff filed its Complaint in the above-
   7   captioned case in the Superior Court of the State of California for the County of
   8   Los Angeles;
   9

  10           WHEREAS, on May 10, 2019, Plaintiff effectuated service of process on
  11   Defendants;
  12

  13           WHEREAS, on May 30, 2019, Defendants filed a Notice of Removal in the
  14   United States District Court for the Central District of California
  15

  16           WHEREAS, on June 27, 2019, pursuant to the parties’ stipulation, the
  17   Court (i) stayed the action pending the parties’ mediation, (ii) continued the
  18   hearing on Plaintiff’s Motion to Remand to November 18, 2019, and (iii)
  19   continued the hearing on Defendants’ Motion to Compel Arbitration to November
  20   18, 2019;
  21

  22           WHEREAS, on August 23, 2019, the parties, through their counsel,
  23   mediated before David Rotman, Esq. and agreed to settle the matter on a class-
  24   wide basis;
  25

  26           WHEREAS, on August 26, 2019, the parties informed the Court via e-mail
  27   that they reached an agreement in principle to resolve the case on a class-wide
  28   basis and are in the process of finalizing the settlement terms;
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   1           WHEREAS, in order for the parties to work expeditiously to finalize a
   2   global settlement of this matter and to conserve Court’s resources, the parties
   3   request that the Court vacate the hearing dates on (i) Defendants’ Motion to
   4   Compel Arbitration, and (ii) Plaintiff’s Motion to Remand; and
   5

   6           WHEREAS, the parties agree that this joint stipulation and request to
   7   vacate the hearing dates of their respective motions does not constitute a waiver of
   8   either Plaintiff’s right to seek remand or Defendants’ right to move to compel
   9   individual arbitration.
  10

  11           IT IS HEREBY STIPULATED AND AGREED that the parties jointly and
  12   respectfully request an order stating that:
  13

  14           1. The scheduled hearing on Plaintiff’s Motion to Remand on November
  15               18, 2019 is vacated;
  16

  17           2. The scheduled hearing on Defendants’ Motion to Compel Arbitration on
  18               November 18, 2019 is vacated; and
  19

  20           3. The parties’ stipulation does not constitute a waiver of either Plaintiff’s
  21               right to seek remand or Defendants’ right to move to compel arbitration.
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  24                                      CERTIFICATION
  25           I, Paul Grossman, am the ECF User whose identification and password are
  26   being used to file this STIPULATION AND [PROPOSED] ORDER TO STAY
  27   CASE PENDING MEDIATION. In compliance with Civil Local Rule
  28   5-4.3.4(a)(2)(i), I hereby attest that Jeffrey K. Compton, counsel for Plaintiff and
                                                     -2-
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   1   the Proposed Class, concurs in the contents of this filing and has authorized the
   2   filing.
   3
        DATED: September 6, 2019            PAUL HASTINGS LLP
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                                            DONNA M. MELBY
   5                                        CHRIS A. JALIAN
   6                                        ZOBLAW
                                            DUANE H. ZOBRIST
   7

   8                                        By:           /s/ Paul Grossman
                                                          PAUL GROSSMAN
   9
                                            Attorneys for Defendants
  10                                        GRUMA ENTERPRISES, INC.;
                                            SMART & FINAL STORES, INC., and
  11                                        STATER BROS. MARKETS
  12

  13
        DATED: September 6, 2019            MARKUN ZUSMAN FRENIERE &
  14                                           COMPTON LLP
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  15                                        DARIA DUB CARLSON
  16                                        LAW OFFICE OF JONATHAN WEISS
                                            JONATHAN WEISS
  17
                                            By:           /s/ Jeffrey K. Compton
  18                                                      JEFFREY K. COMPTON
  19                                        Attorneys for Plaintiff and the Proposed
                                            Class
  20                                        CITYWIDE CONSULTANTS & FOOD
                                            MANAGEMENT, LLC
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